    Case 1:11-cr-00095-GLR       Document 104   Filed 12/30/11   Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA               *

            vs.                        *   CRIMINAL NO. MJG-11-0095

JOHN I. FRANKLIN, Jr., et al.          *

*       *         *          *         *         *          *         *        *

                  MEMORANDUM AND ORDER RE: SEVERANCE

     As discussed on the record of proceedings held December 22,

2011, it is possible that there could be a joint trial of

Defendant Franklin together with Defendant Frazier and/or

Defendant Williams.

     Government counsel has represented that if there were a

joint trial, the statements made by Defendants Franklin and

Frazier would be redacted or otherwise handled1 to eliminate any

Bruton issues.    If this can be done – and it presently appears

that it can be – there could be a joint trial.              The Court will,

therefore, proceed on the assumption – subject to

reconsideration – that there will be no Bruton impediments to a

joint trial.   However, there are circumstances that may moot the

severance issue.

     The trial of Defendant Franklin shall commence with jury

selection during the week of January 29, 2012 and proceed on

February 6, 2012.     Counsel for Defendant Frazier has a

1
     For example, offered only if the Defendant making the
statement testified at trial.
    Case 1:11-cr-00095-GLR   Document 104   Filed 12/30/11   Page 2 of 2



previously scheduled trial that, if it proceeds as planned, will

conflict with the trial of the instant case.         In that event,

Defendant Franklin will be tried alone (or with Defendant

Williams) and there would be a de facto severance as to

Defendant Frazier.

     Defendant Williams has pleaded guilty but has a pending

motion seeking to withdraw his plea.        If the motion is denied,

there would be no trial of Defendant Williams, mooting any

severance issue.    If the motion is granted, Defendant Williams

would be tried together with Defendant Franklin.

     Accordingly:

             1. Prior Orders granting severance herein are hereby
                RESCINDED.

             2. Absent a Bruton issue, Defendant Frazier and/or
                Defendant Williams shall be tried together with
                Defendant Franklin, subject to Defendant
                Frazier's counsel's scheduling conflict and the
                ruling on Defendant Williams's pending motion to
                withdraw his guilty plea.


     SO ORDERED, this Friday, December 30, 2011.



                                                 /s/__________
                                           Marvin J. Garbis
                                      United States District Judge
